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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Gregory Godfrey, et al.
                                        Plaintiff,
v.                                                      Case No.: 1:18−cv−07918
                                                        Honorable Matthew F. Kennelly
Greatbanc Trust Company, et al.
                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 27, 2019:


       MINUTE entry before the Honorable Matthew F. Kennelly: Telephone status
hearing held on 2/27/2019 with attorneys for all parties. Discovery disputes are to be
brought to the Court's attention by way of a motion to be filed promptly. Telephone status
hearing, to be initiated by the parties, is set for 3/13/2019 at 8:30 a.m. Mailed notice. (pjg,
)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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